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4
     Attorney for defendant Heath Roberson
5

6
                  IN THE UNITED STATES DISTRICT COURT IN AND FOR
7
                           THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )           Case No. 1:13-cr-00342 AWI/BAM
10
                                          )
                                          )           STIPULATION TO CONTINUE STATUS
11
                       Plaintiff,         )           CONFERENCE, AND ORDER
                                          )           THEREON
12
     v.                                   )
                                          )           New Date: April 28, 2014
13
     HEATH ROBERSON,                      )           Time: 1 p.m.
                                          )           Crtrm: Hon. Barbara A. McAuliffe
14
                       Defendants.        )
     ___________________________________ )
15

16          IT IS HEREBY STIPULATED by and between the parties hereto, and through

17   their respective attorneys of record herein, that the Status Conference in the above

18   captioned matter, scheduled for March 10, 2014 at 1:00 p.m., may be continued to April

19   28, 2014, 1:00 p.m.

20          Counsel for defendant Heath Roberson desires additional time to consult with

21   her client, to review investigation materials, and for case preparation.

22          For purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161, et

23
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1    seq., within which trial must commence, the time period of March 3, 2014 to April 28,
2
     2014, inclusive, is deemed excludable because it results from a continuance granted by
3
     the Court at defendant’s request on the basis of the Court’s finding that the ends of
4
     justice served by taking such action outweigh the best interest of the public and the
5
     defendant in a speedy trial.
6
                       So stipulated.
7

8    Dated: March 4, 2014                       /s/ Carolyn D. Phillips
                                              CAROLYN D. PHILLIPS
9                                             Attorney for Heath Roberson

10
     Dated: March 4, 2014                      BENJAMIN B. WAGNER
11                                             United States Attorney

12
                                        By:    /s/Michael G. Tierney
13                                             MICHAEL G. TIERNEY
                                               Attorneys for the United States.
14

15                                            ORDER

16   IT IS SO ORDERED that the 3rd Status Conference is continued from March 10, 2014 to

17   April 28, 2014 at 1:00 PM before Judge McAuliffe. Time is excluded under 18 U.S.C.

18   §3161, et seq..

19      IT IS SO ORDERED.

20
        Dated:     March 4, 2014                    /s/ Barbara A. McAuliffe           _
21
                                               UNITED STATES MAGISTRATE JUDGE
22

23
